505 F.2d 477
    8 Fair Empl.Prac.Cas.  1008, 8 Empl. Prac.Dec. P 9790,164 U.S.App.D.C. 370
    Watkinsv.Washington
    73-1880
    UNITED STATES COURT OF APPEALS District of Columbia Circuit
    9/11/74
    D.C.D.C., 366 F.Supp. 941
    AFFIRMED
    
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        * The judgment or order is accompanied by a Memorandum explanatory of the judgment.  Such memorandum is not included with the opinions of the Court that are printed, and it may not be cited in briefs or memoranda of counsel as precedents, under local rule.
      
    
    